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                Exhibit 2
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                               SECRETARY OF DEFENSE
                               1000 DEFENSE PENTAGON
                              WASHINGTON , DC 20301 - 1000


                                                                     AUG 24 2021
MEMORANDUM FOR SENIOR PENTAGON LEADERSHIP
               COMMANDERS OF THE CO MBATANT COMMANDS
               DEFENSE AGENCY AND DOD FIELD ACTIVITY DIRECTORS

SUBJECT: Mandatory Coronavirus Disease 2019 Vaccination of Department of Defense
         Service Members

       To defend this Nation, we need a healthy and ready force. After careful consultation with
medical experts and military leadership, and with the support of the President, I have determined
that mandatory vaccination against coronavirus disease 2019 (COVID-19) is necessary to protect
the Force and defend the American people.

       Mandatory vaccinations are familiar to all of our Service members, and mission-critical
inoculation is almost as old as the U.S. military itself. Our administration of safe, effective
COVID-19 vaccines has produced admirable results to date, and I know the Department of
Defense will come together to finish the job, with urgency, professionalism, and compassion.

       I therefore direct the Secretaries of the Military Departments to immediately begin full
vaccination of all members of the Armed Forces under DoD authority on active duty or in the
Ready Reserve, including the National Guard, who are not full y vaccinated against COVID-19.

       Service members are considered fully vaccinated two weeks after completing the second
dose of a two-dose CO VID-19 vaccine or two weeks after receiving a single dose of a one-dose
vaccine. Those with previous COVID-19 infection are not considered fully vaccinated.

          Mandatory vaccination against COVID-19 will only use COVID-19 vaccines that receive
full licensure from the Food and Drug Administration (FDA), in accordance with FDA-approved
labeling and guidance. Service members voluntarily immunized with a COVID-19 vaccine
under FDA Emergency Use Authorization or World Health Organization Emergency Use Listing
in accordance with applicable dose requirements prior to, or after, the establishment of this
policy are considered fully vaccinated. Service members who are actively participating in
COVID-19 clinical trials are exempted from mandatory vaccination against COVID-19 until the
trial is complete in order to avoid invalidating such clinical trial results.

        Mandatory vaccination requirements will be implemented consistent with DoD
Instruction 6205.02, "DoD Immunization Program," July 23, 2019. The Military Departments
should use existing policies and procedures to manage mandatory vaccination of Service
members to the extent practicable. Mandatory vaccination of Service members will be subject to
any identified contraindications and any administrative or other exemptions established in
Military Department policy. The Military Departments may promulgate appropriate guidance to
carry out the requirements set out above. The Under Secretary of Defense for Personnel and




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Readiness may provide additional guidance to implement and comply with FDA requirements or
Centers for Disease Control and Prevention recommendations.

        The Secretaries of the Military Departments should impose ambitious timelines for
implementation. Military Departments will report regularly on vaccination completion using
established systems for other mandatory vaccine reporting.

       Our vaccination of the Force will save lives. Thank you for your focus on this critical
mission.




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